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                  United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
No. 17-8002                                                 September Term, 2016
                                                                         1:15-cv-00266-CKK
                                                        Filed On: August 1, 2017
In re: Federal Republic of Germany, a foreign
state and Stiftung Preussischer Kulturbesitz,

              Petitioners


       BEFORE:        Millett, Pillard, and Wilkins, Circuit Judges

                                         ORDER

      Upon consideration of the petition for permission to appeal pursuant to 28 U.S.C.
§1292(b), the response thereto, and the reply, it is

       ORDERED that the petition for permission to appeal be granted. See 28 U.S.C.
§ 1292(b). Grant of the petition is without prejudice to reconsideration by the merits
panel.

        The Clerk is directed to transmit a copy of this order to the district court. The
district court will file the order as a notice of appeal pursuant to Fed. R. App. P. 5. The
district court is to certify and transmit the preliminary record to this court, after which the
Clerk is directed to assign this case a general docket number and consolidate it with
No. 17-7064.


                                         Per Curiam
